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          EXHIBIT A
                       Case 1:21-cv-03186-RCL Document
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                                                U.S. District Court
                                     District of Columbia (Washington, DC)
                                CIVIL DOCKET FOR CASE #: 1:05-cv-00220-RCL


 ELLIS et al v. ISLAMIC REPUBLIC OF IRAN et al                                     Date Filed: 01/31/2005
 Assigned to: Chief Judge Royce C. Lamberth                                        Date Terminated: 07/03/2012
 Demand: $236,000,000                                                              Jury Demand: Plaintiff
  Cases: 1:00-cv-02328-RDM                                                         Nature of Suit: 360 P.I.: Other
         1:20-cv-02444-RCL                                                         Jurisdiction: Federal Question
         1:01-cv-01655-RCL
         1:08-cv-00503-RMU
         1:21-cv-03186-RCL
 Cause: 28:1602 Foreign Sovereign Immunities Act
 In Re
 ESTATE OF YAEL BOTVIN                                                  represented by Richard D. Heideman
                                                                                       HEIDEMAN NUDELMAN & KALIK, PC
                                                                                       5335 Wisconsin Avenue, NW
                                                                                       Suite 440
                                                                                       Washington, DC 20015
                                                                                       202-463-1818
                                                                                       Fax: 202-463-2999
                                                                                       Email: rdheideman@hnklaw.com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                    Matthew S. Apfel
                                                                                    APFEL AND ASSOCIATES, P.C.
                                                                                    2375 East Camelback Road
                                                                                    Suite 600
                                                                                    Phoenix, AZ 85016
                                                                                    (602) 399-7970
                                                                                    Fax: (888) 498-4629
                                                                                    Email: msapfel@apfelandassociates.com
                                                                                    TERMINATED: 11/20/2012

                                                                                    Tracy Reichman Kalik
                                                                                    HEIDEMAN NUDELMAN & KALIK, PC
                                                                                    5335 Wisconsin Avene
                                                                                    Suite 440
                                                                                    Washington, DC 20015
                                                                                    202-463-1818
                                                                                    Fax: 202-463-2999
                                                                                    Email: trkalik@hnklaw.com
                                                                                    ATTORNEY TO BE NOTICED

 Non-Party Respondent
 Russell Ellis                                                          represented by Oleg Rivkin
 , individually                                                                        RIVKIN LAW GROUP PLLC
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?20478880539196-L_1_0-1                                                       1/9
                       Case 1:21-cv-03186-RCL Document
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                                                           of Columbia live02/11/22
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                                                                        800 Third Avenue
                                                                        Ste 2800
                                                                        New York, NY 10022
                                                                        212-231-9776
                                                                        Email: or@rivkinlawgroup.com
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 RUSSELL ELLIS                                                          represented by Richard D. Heideman
 Esquire, Administrator of Estate of Yael                                              (See above for address)
 Botvin                                                                                LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Matthew S. Apfel
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/20/2012

                                                                                       Steven Robert Perles
                                                                                       PERLES LAW FIRM, PC
                                                                                       816 Connecticut Avenue NW
                                                                                       Suite 12th Floor
                                                                                       Washington, DC 20036
                                                                                       202-955-9055
                                                                                       Email: sperles@perleslaw.com
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Tracy Reichman Kalik
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 JULIE GOLDBERG-BOTVIN                                                  represented by Richard D. Heideman
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Matthew S. Apfel
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/20/2012

                                                                                       Steven Robert Perles
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Tracy Reichman Kalik
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 TAMAR BOTVIN                                                           represented by Richard D. Heideman
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY

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                                                                        ATTORNEY TO BE NOTICED

                                                                                    Matthew S. Apfel
                                                                                    (See above for address)
                                                                                    TERMINATED: 11/20/2012

                                                                                    Steven Robert Perles
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Tracy Reichman Kalik
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

 Plaintiff
 MICHAL BOTVIN                                                          represented by Richard D. Heideman
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                    Matthew S. Apfel
                                                                                    (See above for address)
                                                                                    TERMINATED: 11/20/2012

                                                                                    Steven Robert Perles
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Tracy Reichman Kalik
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 ISLAMIC REPUBLIC OF IRAN

 Defendant
 IRANIAN MINISTRY OF
 INFORMATION AND SECURITY

 Defendant
 IRANIAN REVOLUTIONARY GUARD
 Defendant
 AYATOLLAH SAYYID ALI HOSSEINI
 KHAMENEI
 Supreme Leader of the Islamic Republic of
 Iran
 Defendant
 ALI AKBAR HASHEMI-RAFSANJANI
 Former President of the Islamic Republic of
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 Iran
 Defendant
 ALI FALLAHIAN-KHUZESTANI
 Former Minister of Information and
 Security
 Defendant
 HAMAS

 Defendant
 JOHN DOES 1-99


 V.
 Interested Party
 UNITED STATES DEPARTMENT OF                                            represented by Patrick D. Davis
 THE TREASURY, OFFICE OF                                                               U.S. DEPARTMENT OF JUSTICE
 FOREIGN ASSETS CONTROL                                                                Civil Division
                                                                                       20 Massachusetts Avenue, NW
                                                                                       Washington, DC 20001
                                                                                       (202) 305-0879
                                                                                       Fax: (202) 616-8470
                                                                                       Email: patrick.davis2@usdoj.gov
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                      Timothy Andrew Johnson
                                                                                      U.S. DEPARTMENT OF JUSTICE
                                                                                      Civil Division, Federal Programs Branch
                                                                                      20 Massachusetts Avenue, NW
                                                                                      Washington, DC 20530
                                                                                      (202) 514-1359
                                                                                      Fax: (202) 616-8470
                                                                                      Email: timothy.johnson4@usdoj.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED


  Date Filed             #    Docket Text
  01/31/2005             1 COMPLAINT against ISLAMIC REPUBLIC OF IRAN, IRANIAN MINISTRY OF
                           INFORMATION AND SECURITY, IRANIAN REVOLUTIONARY GUARD,
                           AYATOLLAH ALI HOSEINI KHAMENEI, ALI AKBAR HASHEMI-RAFSANJANI,
                           ALI FALLAHIAN-KHUZESTANI, HAMAS, JOHN DOES 1-99 (Filing fee $ 150) filed
                           by MICHAL BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN, TAMAR
                           BOTVIN.(cp, ) (Entered: 02/02/2005)
  01/31/2005             2 NOTICE OF RELATED CASE by MICHAL BOTVIN, RUSSELL ELLIS, JULIE
                           GOLDBERG-BOTVIN, TAMAR BOTVIN. Case related to Case Nos. 01cv1655 and
                           00cv2328. (cp, ) (Entered: 02/02/2005)
  01/31/2005                  Summons Issued (7) as to ISLAMIC REPUBLIC OF IRAN, IRANIAN MINISTRY OF
                              INFORMATION AND SECURITY, IRANIAN REVOLUTIONARY GUARD,
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?20478880539196-L_1_0-1                                                           4/9
                       Case 1:21-cv-03186-RCL Document
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                           AYATOLLAH ALI HOSEINI KHAMENEI, ALI AKBAR HASHEMI-RAFSANJANI,
                           ALI FALLAHIAN-KHUZESTANI, HAMAS. (cp, ) (Entered: 02/02/2005)
  02/03/2005             3 NOTICE of Appearance by Tracy Reichman Kalik on behalf of MICHAL BOTVIN,
                           ESTATE OF YAEL BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN,
                           TAMAR BOTVIN (Kalik, Tracy) (Entered: 02/03/2005)
  03/30/2005             4 REQUEST for the Clerk to send two copies of the complaint, notice of suit and summons
                           for each defendant together with translations, pursuant to 28 U.S.C. Section 1608(a)(4) to
                           be served by the Department of State, Bureau of Consular Affairs, 2100 Pennsylvania
                           Avenue, NW, 4th Floor, Washington, DC 20520 return receipt requested; sent to the
                           Department of State via certified mail by plaintiffs. (cp, ) Additional attachment(s) added
                           on 4/1/2005 (cp, ). Additional attachment(s) added on 4/1/2005 (cp, ). (Entered:
                           04/01/2005)
  03/30/2005                  CERTIFICATE of Clerk of mailing two copies of the summons and complaint and a notice
                              of suit, together with a translation of each into the official language of the foreign state, by
                              certified mail to the Director of Special Consular Services, Department of State, 2100
                              Pennsylvania Avenue, NW, 4th Floor, Washington, DC 20520, pursuant to the provisions
                              of 28 U.S.C. Section 1608(a)(4). (cp, ) (Entered: 04/01/2005)
  07/22/2005             7 Summons Returned Unexecuted as to ISLAMIC REPUBLIC OF IRAN, IRANIAN
                           MINISTRY OF INFORMATION AND SECURITY, IRANIAN REVOLUTIONARY
                           GUARD by U.S. DEPARTMENT OF STATE. (jf, )(SEE DOCUMENT NO. 11 FOR
                           CORRECTED ENTRY OF THIS PLEADING) Modified on 7/27/2006 (ks, ). (Entered:
                           09/15/2005)
  09/13/2005             5 STRICKEN PURSUANT MINUTE ORDER OF 7/20/2006.....MOTION for Entry of
                           Default by MICHAL BOTVIN, ESTATE OF YAEL BOTVIN, RUSSELL ELLIS, JULIE
                           GOLDBERG-BOTVIN, TAMAR BOTVIN. (Attachments: # 1 Memorandum in Support
                           of Entry of Default# 2 Exhibit A - Letter from Department of State# 3 Exhibit B-
                           Authenticated Certificate of Transmission to Republic of Iran# 4 Exhibit C - Authenticated
                           Certificate of Transmission to MOIS# 5 Exhibit D - Authenticated Certificate of
                           Transmission to Iranian Revolutionary Guard# 6 Text of Proposed Order)(Kalik, Tracy)
                           Modified on 7/24/2006 (jwd, ). (Entered: 09/13/2005)
  09/13/2005             6 NOTICE of Law Firm Name Change on Behalf of Counsel for Plaintiffs by MICHAL
                           BOTVIN, ESTATE OF YAEL BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-
                           BOTVIN, TAMAR BOTVIN (Kalik, Tracy) (Entered: 09/13/2005)
  09/16/2005             8 NOTICE of Appearance by Steven R. Perles on behalf of all plaintiffs (Perles, Steven)
                           (Entered: 09/16/2005)
  07/18/2006             9 STRICKEN PURSUANT TO MINUTE ORDER OF 7/20/2006.....Second MOTION for
                           Entry of Default by MICHAL BOTVIN, ESTATE OF YAEL BOTVIN, RUSSELL ELLIS,
                           JULIE GOLDBERG-BOTVIN, TAMAR BOTVIN. (Attachments: # 1 Memorandum of
                           Law in Support of Renewed Motion for Entry of Default# 2 Appendix # 3 Text of
                           Proposed Order)(Kalik, Tracy) Modified on 7/24/2006 (jwd, ). (Entered: 07/18/2006)
  07/20/2006                  MINUTE ORDER striking 5 Motion for Entry of Default, striking 9 Second Motion for
                              Entry of Default. Under Rule 55(a), an application for entry of default should be made to
                              the Clerk, not the court. Signed by Judge Ricardo M. Urbina on 7/20/06. (md) (Entered:
                              07/20/2006)
  07/26/2006           10 ENTERED IN ERROR..... MOTION for Entry of Default by MICHAL BOTVIN,
                          ESTATE OF YAEL BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN,
                          TAMAR BOTVIN. (Attachments: # 1 Memorandum in Support of Motion# 2 Text of

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                           Proposed Order # 3 Appendix)(Kalik, Tracy) Modified on 7/27/2006 (nmw, ). (Entered:
                           07/26/2006)
  07/27/2006                  NOTICE OF CORRECTED DOCKET ENTRY: Document No. 10 was entered in error as
                              a motion and counsel was instructed to refile said pleading as an affidavit. (nmw, )
                              (Entered: 07/27/2006)
  07/27/2006           11 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to
                          ISLAMIC REPUBLIC OF IRAN served on 6/22/2005, answer due 8/21/2005; IRANIAN
                          MINISTRY OF INFORMATION AND SECURITY served on 6/22/2005, answer due
                          8/21/2005; IRANIAN REVOLUTIONARY GUARD served on 6/22/2005, answer due
                          8/21/2005. (This pleading was originally filed on 7/22/05, but was filed incorrectly, Please
                          see Document No. 7) (ks, ) (Entered: 07/27/2006)
  07/28/2006           12 AFFIDAVIT in Support of Default by MICHAL BOTVIN, ESTATE OF YAEL BOTVIN,
                          RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN, TAMAR BOTVIN. (Attachments: # 1
                          Appendix)(Kalik, Tracy) (Entered: 07/28/2006)
  07/31/2006           13 Clerk's ENTRY OF DEFAULT as to ISLAMIC REPUBLIC OF IRAN, IRANIAN
                          MINISTRY OF INFORMATION AND SECURITY, IRANIAN REVOLUTIONARY
                          GUARD (nmw, ) (Entered: 07/31/2006)
  10/15/2006           14 MOTION To Take Judicial Notice Of This Court?s 10 September 2003 Findings Of Fact
                          And Conclusions Of Law In A Related Case by MICHAL BOTVIN, ESTATE OF YAEL
                          BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN, TAMAR BOTVIN.
                          (Attachments: # 1 Exhibit # 2 Text of Proposed Order)(Kalik, Tracy) (Entered:
                          10/15/2006)
  05/01/2007           15 NOTICE of New Authority by MICHAL BOTVIN, ESTATE OF YAEL BOTVIN,
                          RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN, TAMAR BOTVIN re 14 MOTION To
                          Take Judicial Notice Of This Court?s 10 September 2003 Findings Of Fact And
                          Conclusions Of Law In A Related Case MOTION To Take Judicial Notice Of This Court?
                          s 10 September 2003 Findings Of Fact And Conclusions Of Law In A Related Case
                          (Attachments: # 1 Exhibit A)(Kalik, Tracy) (Entered: 05/01/2007)
  09/24/2007           16 ORDER granting in part and denying in part 14 Motion for Judicial Notice. Signed by
                          Judge Ricardo M. Urbina on 09/24/07. (lcrmu1, ) (Entered: 09/24/2007)
  09/24/2007                  Set Deadlines/Hearings: Plaintiffs shall submit competent evidence on the elements of the
                              claims as well as damages on or before 3/21/2008. (jwd ) (Entered: 09/24/2007)
  03/21/2008           17 MOTION for Entry of Final Judgment Pursuant to and Under the New Federal Statute 28
                          USC 1605A and Brief in Support of Courts Findings of Fact and Conclusions of Law and
                          Presentation of Evidence Regarding Plaintiffs Damages by MICHAL BOTVIN, ESTATE
                          OF YAEL BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN, TAMAR
                          BOTVIN (Attachments: # 1 Appendix Exhibit A- Part I, # 2 Appendix Exhbit A - Part II,
                          # 3 Appendix Exhibit A - Part III, # 4 Appendix Exhibit A - Part IV, # 5 Appendix Exhibit
                          A - Part V, # 6 Appendix Exhibit A - Part VI, # 7 Appendix Exhibit A - Part VII, # 8
                          Notice of Filing, # 9 Text of Proposed Order)(Kalik, Tracy) (Entered: 03/21/2008)
  03/21/2008           18 LARGE ADDITIONAL ATTACHMENT(S) Appendix Exhibits B-F by MICHAL
                          BOTVIN, ESTATE OF YAEL BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-
                          BOTVIN, TAMAR BOTVIN 17 MOTION for Entry of Final Judgment Pursuant to and
                          Under the New Federal Statute 28 USC 1605A and Brief in Support of Courts Findings of
                          Fact and Conclusions of Law and Presentation of Evidence Regarding Plaintiffs Damages
                          filed by RUSSELL ELLIS, TAMAR BOTVIN, MICHAL BOTVIN, ESTATE OF YAEL
                          BOTVIN, JULIE GOLDBERG-BOTVIN. (Attachments: # 1 Appendix Exhibits G-H, # 2
                          Appendix Exhibits I-K)(Kalik, Tracy) (Entered: 03/21/2008)
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  02/26/2009           19 MOTION for Hearing for Status Conference by MICHAL BOTVIN, ESTATE OF YAEL
                          BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN, TAMAR BOTVIN
                          (Attachments: # 1 Text of Proposed Order)(Kalik, Tracy) (Entered: 02/26/2009)
  02/26/2009                  MINUTE ORDER denying 19 Motion for Status Hearing. Signed by Judge Ricardo M.
                              Urbina on 2/26/09. (lcrmu2) (Entered: 02/26/2009)
  03/24/2009           20 STANDING ORDER. Signed by Judge Ricardo M. Urbina on 3/24/09. (lcrmu2) (Entered:
                          03/24/2009)
  03/27/2009           21 MEMORANDUM ORDER denying without prejudice 17 the Plaintiffs' Motion for
                          Default Judgment. Signed by Judge Ricardo M. Urbina on 3/27/09. (lcrmu2) (Entered:
                          03/27/2009)
  05/28/2009           22 Supplemental MOTION for Default Judgment as to Defendants Islamic Republic of Iran,
                          Iranian Revolutionary Guard and MOIS by MICHAL BOTVIN, ESTATE OF YAEL
                          BOTVIN, RUSSELL ELLIS, JULIE GOLDBERG-BOTVIN, TAMAR BOTVIN
                          (Attachments: # 1 Supplemental Appendix Exhibits 1-5, # 2 Supplemental Appendix
                          Exhibits 6-7, # 3 Supplemental Appendix Exhibits 8-12, # 4 Supplemental Appendix
                          Exhibits 13-14, # 5 Supplemental Appendix Exhibits 15-19, # 6 Supplemental Appendix
                          Exhibits 20-24, # 7 Supplemental Appendix Exhibit 25 Part I, # 8 Supplemental Appendix
                          Exhibit 25 Part II, # 9 Text of Proposed Order)(Kalik, Tracy) (Entered: 05/28/2009)
  02/16/2010           23 ORDER denying without prejudice the plaintiffs' 22 motion for default judgment. Signed
                          by Judge Ricardo M. Urbina on 2/16/10. (lcrmu2) (Entered: 02/16/2010)
  02/16/2010           24 MEMORANDUM OPINION. Signed by Judge Ricardo M. Urbina on 2/16/10. (lcrmu2)
                          (Entered: 02/16/2010)
  05/10/2010           25 STATUS REPORT by MICHAL BOTVIN, TAMAR BOTVIN, RUSSELL ELLIS,
                          ESTATE OF YAEL BOTVIN, JULIE GOLDBERG-BOTVIN. (Kalik, Tracy) (Entered:
                          05/10/2010)
  07/09/2010           26 Supplemental MOTION for Default Judgment as to by MICHAL BOTVIN, TAMAR
                          BOTVIN, RUSSELL ELLIS, ESTATE OF YAEL BOTVIN, JULIE GOLDBERG-
                          BOTVIN (Attachments: # 1 Appendix Exhibit 1, # 2 Appendix Exhibits 2-6, # 3 Appendix
                          Exhbits 7-11, # 4 Appendix Exhibit 12, # 5 Text of Proposed Order)(Kalik, Tracy)
                          (Entered: 07/09/2010)
  03/25/2011           27 ORDER denying the plaintiffs' 26 motion for relief upon reconsideration; denying without
                          prejudice the plaintiffs' 26 supplemental motion for default judgment. Signed by Judge
                          Ricardo M. Urbina on 3/25/11. (lcrmu2) (Entered: 03/25/2011)
  03/25/2011           28 MEMORANDUM OPINION. Signed by Judge Ricardo M. Urbina on 3/25/11. (lcrmu2)
                          (Entered: 03/25/2011)
  09/12/2011           29 NOTICE of Appearance by Matthew S. Apfel on behalf of MICHAL BOTVIN, TAMAR
                          BOTVIN, RUSSELL ELLIS, ESTATE OF YAEL BOTVIN, JULIE GOLDBERG-
                          BOTVIN (Apfel, Matthew) (Entered: 09/12/2011)
  09/15/2011           30 Supplemental MOTION for Default Judgment as to All Defendants by MICHAL
                          BOTVIN, TAMAR BOTVIN, RUSSELL ELLIS, ESTATE OF YAEL BOTVIN, JULIE
                          GOLDBERG-BOTVIN (Attachments: # 1 Appendix Part 1, # 2 Appendix Part 2, # 3 Text
                          of Proposed Order)(Apfel, Matthew) (Entered: 09/15/2011)
  04/25/2012                  Case directly reassigned to Chief Judge Royce C. Lamberth. Judge Ricardo M. Urbina no
                              longer assigned to the case as the Judge is scheduled to retire. (gt, ) (Entered: 04/25/2012)
  07/03/2012           31 ORDER AND JUDGMENT granting in part and denying in part Motion for Default
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?20478880539196-L_1_0-1                                                         7/9
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                           Judgment 30 . Signed by Chief Judge Royce C. Lamberth on 7/3/2012. (lcrcl5) (Entered:
                           07/03/2012)
  07/03/2012           32 MEMORANDUM OPINION. Signed by Chief Judge Royce C. Lamberth on 7/3/2012.
                          (lcrcl5) (Entered: 07/03/2012)
  11/20/2012           33 NOTICE OF WITHDRAWAL OF APPEARANCE as to MICHAL BOTVIN, TAMAR
                          BOTVIN, RUSSELL ELLIS, ESTATE OF YAEL BOTVIN, JULIE GOLDBERG-
                          BOTVIN. Attorney Matthew S. Apfel terminated. (Kalik, Tracy) (Entered: 11/20/2012)
  02/28/2013           34 AFFIDAVIT REQUESTING FOREIGN MAILING pursuant to 28 USC 1608(a)(4) by
                          MICHAL BOTVIN, TAMAR BOTVIN, RUSSELL ELLIS, ESTATE OF YAEL BOTVIN,
                          JULIE GOLDBERG-BOTVIN. (Kalik, Tracy) (Entered: 02/28/2013)
  02/28/2013           35 REQUEST from MICHAL BOTVIN, TAMAR BOTVIN, RUSSELL ELLIS, ESTATE OF
                          YAEL BOTVIN, JULIE GOLDBERG-BOTVIN for the Clerk to effect service of two
                          copies of 31 ORDER AND JUDGMENT and 32 MEMORANDUM OPINION, together
                          with a translation of each into the official language of the foreign state, by certified mail,
                          return receipt requested, to the U. S. Department of State, Director of Overseas Citizens
                          Services, pursuant to 28 U.S.C. 1608(a)(4). (See docket entry 34 to view document) (rdj)
                          (Entered: 03/01/2013)
  03/01/2013           36 CERTIFICATE OF CLERK of mailing two copies of 31 ORDER AND JUDGMENT and
                          32 MEMORANDUM OPINION, together with a translation of each into the official
                          language of the foreign state on 3/1/2013, by certified mail, return receipt requested, to the
                          U. S. Department of State, William Fritzlen, Office of Policy Review and Interagency
                          Liaison Overseas Citizens Services, 2201 C Street, NW, 4th Floor, Washington, DC 20520,
                          pursuant to 28 U.S.C. 1608(a)(4). (Attachments: # 1 Exhibit) (rdj) (Additional
                          attachment(s) added on 3/15/2013: # 2 Return Receipt) (rdj). (Entered: 03/01/2013)
  05/14/2013           37 AFFIDAVIT OF SERVICE by U.S. Department of State upon defendants under diplomatic
                          notes, numbers 1032-IE and 1033-IE dated and delivered on April 10, 2013 re 31 ORDER
                          AND JUDGMENT, 32 MEMORANDUM OPINION. (Attachments: # 1 Diplomatic Notes
                          *Originals mailed to Plaintiff's Counsel*)(rdj) (Entered: 05/15/2013)
  08/16/2013           38 ORDER that any motion by plaintiffs pursuant to 28 USC 1610(c) shall be filed no later
                          than August 26, 2013. Signed by Judge Royce C. Lamberth on August 16, 2013. (lcrcl5)
                          (Entered: 08/16/2013)
  08/16/2013                  Set/Reset Deadlines: Motion due by 8/26/2013. (mpt) (Entered: 08/16/2013)
  08/26/2013           39 MOTION for Order under 28 USC 1610(c) Authorizing Enforcement of Judgment by
                          RUSSELL ELLIS, ESTATE OF YAEL BOTVIN (Attachments: # 1 Exhibit A, # 2 Text of
                          Proposed Order)(Kalik, Tracy) (Entered: 08/26/2013)
  08/26/2013           40 ORDER granting 39 Motion for Order pursuant to 28 U.S.C. 1610(c). Signed by Judge
                          Royce C. Lamberth on August 26, 2013. (lcrcl5) (Entered: 08/26/2013)
  01/22/2014           41 MOTION for Protective Order by OFFICE OF FOREIGN ASSETS CONTROL
                          (Attachments: # 1 Exhibit A, # 2 Text of Proposed Order)(rdj) (Entered: 01/23/2014)
  04/04/2014           42 PROTECTIVE ORDER; setting forth procedures for handling confidential material;
                          allowing designated material to be filed under seal, Signed by Judge Royce C. Lamberth
                          on 4/3/2014. (hs) (Entered: 04/04/2014)
  12/22/2016           43 Unopposed MOTION for Protective Order by OFFICE OF FOREIGN ASSETS
                          CONTROL (Attachments: # 1 Text of Proposed Order, # 2 Exhibit A)(Johnson, Timothy)
                          (Entered: 12/22/2016)

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  12/29/2016           44 ORDER granting 43 Motion for Protective Order. Signed by Judge Royce C. Lamberth on
                          12/28/16. (Attachment: Notice to Counsel/Party Acknowledgment of Protective Order)
                          (zlsj) (Entered: 12/29/2016)
  02/07/2018           45 Unopposed MOTION for Protective Order by UNITED STATES DEPARTMENT OF
                          THE TREASURY, OFFICE OF FOREIGN ASSETS CONTROL (Attachments: # 1 Text
                          of Proposed Order, # 2 Exhibit Affidavit by Plaintiffs' Attorney with Subpoena)(Johnson,
                          Timothy) (Entered: 02/07/2018)
  02/28/2018           46 ORDER granting 45 Motion for Protective Order. Signed by Judge Royce C. Lamberth on
                          2/27/18. (lsj) (Entered: 02/28/2018)
  12/06/2021           47 WITHDRAWN PURSUANT TO ORDER FILED 12/23/2021..... MOTION to Deposit
                          Funds by MICHAL BOTVIN, TAMAR BOTVIN, ESTATE OF YAEL BOTVIN, JULIE
                          GOLDBERG-BOTVIN. (Attachments: # 1 Text of Proposed Order)(Kalik, Tracy)
                          Modified on 12/28/2021 (znmw). (Entered: 12/06/2021)
  12/09/2021           48 VACATED PURSUANT TO 51 ORDER FILED 12/23/2021.....ORDER granting 47
                          Motion to Deposit Funds. Signed by Judge Royce C. Lamberth on 12/08/2021. (lcrcl1)
                          Modified on 12/28/2021 (znmw). (Entered: 12/09/2021)
  12/22/2021           49 MOTION to Withdraw 47 Motion to Deposit Funds by MICHAL BOTVIN, TAMAR
                          BOTVIN, ESTATE OF YAEL BOTVIN, JULIE GOLDBERG-BOTVIN. (Attachments: #
                          1 Text of Proposed Order)(Kalik, Tracy). Added MOTION to Vacate on 12/28/2021
                          (znmw). (Entered: 12/22/2021)
  12/23/2021           50 RESPONSE re 49 MOTION to Withdraw 48 Order on Motion to Deposit Funds
                          CONSENTING TO RELIEF REQUESTED filed by Russell Ellis. (Rivkin, Oleg) (Entered:
                          12/23/2021)
  12/23/2021           51 ORDER granting 49 Motion to Vacate and vacating 48 Order on Motion to Deposit Funds.
                          Signed by Judge Royce C. Lamberth on 12/23/2021. (lcrcl1) (Entered: 12/23/2021)




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